         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 1 of 33




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHSETTS


CELESTE BROWN and ROSS FINESMITH,
                                                       No.
on behalf of themselves and all others similarly
situated,                                              CLASS ACTION COMPLAINT

                               Plaintiffs,             DEMAND FOR JURY TRIAL

v.

ALLCARE PLUS PHARMACY LLC,

                               Defendant.



       Celeste Brown and Ross Finesmith (“Plaintiffs”), through their attorneys, individually and

on behalf of all others similarly situated, brings this Class Action Complaint against Defendant

AllCare Plus Pharmacy LLC, (“AllCare” or “Defendant”) and its present, former, or future direct

and indirect parent companies, subsidiaries, affiliates, agents, and/or other related entities.

Plaintiffs allege the following on information and belief—except as to their own actions, counsel’s

investigations, and facts of public record.

                                        INTRODUCTION

       1.      This class action arises from Defendant’s failure to protect highly sensitive data.

       2.      Defendant is a Massachusetts based pharmaceutical company providing patient

support services and specializing in complex medication management.

       3.      As such, Defendant stores a litany of highly sensitive personal identifiable

information (“PII”) and protected health information (“PHI”)—together the “Protected

Information”—about its current and former patients and employees. But Defendant lost control




                                                   1
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 2 of 33




over that data when cybercriminals infiltrated its insufficiently protected computer systems in a

data breach (the “Data Breach”).

       4.      It is unknown precisely how long the cybercriminals had access to Defendant’s

network before the breach was discovered. In other words, Defendant had no effective means to

prevent, detect, stop, or mitigate breaches of its systems—thereby allowing cybercriminals

unrestricted access to the Protected Information.

       5.      On information and belief, cybercriminals were able to breach Defendant’s systems

because Defendant failed to adequately train its employees on cybersecurity and failed to maintain

reasonable security safeguards or protocols to protect the Class’s Protected Information. In short,

Defendant’s failures placed the Class’s Protected Information in a vulnerable position—rendering

them easy targets for cybercriminals.

       6.      Plaintiffs are Data Breach victims having received breach notices from Defendant.

They bring this class action on behalf of themselves, and all others harmed by Defendant’s

misconduct.

                                            PARTIES

       7.      Plaintiff, Celeste Brown, is a natural person and citizen of North Carolina. She

resides in Charlotte, North Carolina where she intends to remain.

       8.      Plaintiff, Ross Finesmith, is a natural person and citizen of New Jersey. He resides

in Basking Ridge, New Jersey where he intends to remain.

       9.      Defendant, AllCare Plus Pharmacy LLC, is a Massachusetts limited liability

company with its principal place of business located in Northborough, Massachusetts.




                                                2
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 3 of 33




                                    JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. There are over 100 putative Class Members.

       11.     This Court has personal jurisdiction over Defendant because it is headquartered in

Massachusetts, regularly conducts business in Massachusetts, and Plaintiffs are citizens of a

different state than Defendant, establishing minimal diversity jurisdiction.

       12.     Venue is proper in this Court under because Defendant’s principal office is in this

District, and because a substantial part of the events, acts, and omissions giving rise to Plaintiffs’

claims occurred in this District.

                                         BACKGROUND

Defendant Collected and Stored the Protected Information of Plaintiffs and the Class

       13.     Defendant is a Massachusetts based “recognized industry leader in patient support

services” that provides “a full range of patient support services while specializing in complex

medication management.”1

       14.     As part of its business, Defendant receives and maintains the Protected Information

of thousands of current and former patients and employees. In doing so, Defendant implicitly

promises to safeguard their Protected Information in accordance with its internal policies, state

law, and federal law. After all, Plaintiffs and Class Members themselves took reasonable steps to

secure their Protected Information.

       15.     Defendant clearly recognizes these duties as evidenced by the following statement

on its Privacy Policy: “We pledge to protect the privacy of your health information as required by


1
 ALLCARE PLUS PHARMACY, Company Overview, https://allcarepluspharmacy.com/about/ (last accessed June
22, 2023).


                                                  3
           Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 4 of 33




federal and state laws, regulations, and other applicable authorities…”2 and “AllCare Plus

Pharmacy’s practice is dedicated to maintaining the privacy of our customer’s PHI (Protected

Health Information)…”3

        16.      Under state and federal law, businesses like Defendant have duties to protect

patients’ Protected Information and to notify them about breaches.

Defendant’s Data Breach

        17.      Sometime on or before June 21, 2022, Defendant was hacked—exposing the

Protected Information of Plaintiffs and the Class.4 Defendant learned that a number of phishing

emails were circulated to Defendant’s employees. Defendant cannot even pinpoint the date they

discovered the phishing emails were circulated, as the Notice of Data Breach merely states

“Around June 21, 2022.”5

        18.      Defendant does not know how long the hack actually lasted, other than stating their

“investigation determined that an unauthorized party had accessed certain email inboxes of

AllCare employes which contained personal information.” Ultimately, these cybercriminals had

access to Defendant’s systems and Defendant had no idea when the hack began. The hack may

have lasted for months.

        19.      Defendant admits that after “Further investigation determined that particular

individuals had personal information included and potentially accessed in these mailboxes.”6




2
  Privacy Policy, AllCare, https://allcarepluspharmacy.com/privacy/ (last accessed June 22, 2023).
3
  Id.
4
  AllCare Plus Pharmacy Notice of Data Breach, Attached hereto as Exhibit A.
5
  Id.
6
  Id.


                                                         4
           Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 5 of 33




          20.   Because of Defendant’s Data Breach, at least the following types of Protected

Information were compromised:

                a.     names;

                b.     address,

                c.     date of birth,

                d.     Social Security numbers;

                e.     Driver’s license or other identification numbers,

                f.     financial account information; and

                g.     certain health information, including health insurance information and

                       information about treatment and prescriptions.7

          21.   And yet, Defendant waited until March 13, 2023, before it began notifying the

class—more than eight months after discovering the Data Breach.

          22.   Defendant kept the Class in the dark—thereby depriving the Class of the

opportunity to try and mitigate their injuries in a timely manner.

          23.   And when Defendant did notify Plaintiffs and the Class of the Data Breach,

Defendant downplayed the seriousness of the Data Breach stating, “AllCare has not uncovered

evidence that any personal information has been used for fraudulent or illicit purposes or has been

made publicly available”8




7
    Id.
8
    Id.


                                                  5
            Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 6 of 33




           24.   Simply put, Defendant failed its duties when its inadequate security practices

placed the sensitive Protected Information of Plaintiffs and Class Members into the hands of

cybercriminals—inflicting numerous injuries and significant damages upon Plaintiffs and Class

Members.

           25.   Still, Defendant declares that “Your trust is a top priority for AllCare, and we

deeply regret the inconvenience this may cause” and “The privacy and protection of the personal

information we maintain is a matter we take very seriously, and we have worked swiftly to resolve

the incident.”9 Defendant failed to notify the class for eight months, so nothing Defendant claims

to be doing regarding the Data Breach is being down swiftly. Regardless of how sincere

Defendant’s regrets are, Defendant’s Data Breach caused widespread injury and monetary

damages.

           26.   Since the Data Breach, Defendant declared that it is “implementing additional

security measures, internal controls, and safeguards, as well as making changes to our policies and

procedures to prevent a similar occurrence in the future.”10 But this is too little too late. Simply

put, these measures—which Defendant now recognizes as necessary—should have been

implemented before the Data Breach.

           27.   Defendant’s negligence is evidenced by its failure to prevent the Data Breach and

stop cybercriminals from accessing the Protected Information. And on information and belief,

Defendant failed to adequately train its employees on reasonable cybersecurity protocols or

implement reasonable security measures.




9
    Id.
10
     Id.


                                                 6
            Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 7 of 33




           28.   Defendant has done little to remedy its Data Breach. True, Defendant has offered

concessions of credit monitoring to Plaintiffs and the Class11, but upon information and belief,

such services do not properly compensate Plaintiffs and the Class for the injuries that Defendant

inflicted upon them.

           29.   Because of Defendant’s Data Breach, the Protected Information of Plaintiffs and

the Class were placed into the hands of cybercriminals—inflicting numerous injuries and

significant damages upon Plaintiffs and the Class.

Plaintiff Celeste Brown’s Experiences and Injuries

           30.   Plaintiff Celeste Brown is a former employee of Defendant. Ms. Brown was

employed by Defendant for approximately three years from 2017 to 2020.

           31.   As a condition of her employment with Defendant, Ms. Brown provided Defendant

with her Protected Information. Defendant used that Protected Information to facilitate its

employment of Ms. Brown, including payroll, and required Ms. Brown to provide that Protected

Information to obtain employment and payment for that employment.

           32.   In doing so, Ms. Brown trusted that Defendant would use reasonable measures to

protect the Protected Information according to Defendant’s internal policies, as well as state and

federal law. Defendant obtained and continues to maintain her Protected Information and has a

continuing legal duty and obligation to protect that Protected Information from unauthorized

access and disclosure.

           33.   Ms. Brown received a Notice of Data Breach dated March 13, 2023.




11
     Id.


                                                 7
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 8 of 33




       34.     Ms. Brown has been the victim of identity theft, likely as a result of the Data Breach

as she does not recall ever learning that her information was compromised in a data breach

incident—other than the breach at issue here.

       35.     Ms. Brown has had several fraudulent inquiries to her credit from June 2022

through November 2022.

       36.     Ms. Brown has spent—and will continue to spend—significant time and effort

monitoring her accounts to protect herself from identity theft. After all, Defendant directed her to

take those steps in its breach notice.

       37.     Ms. Brown fears for her personal financial security and worries about what

information was exposed in the Data Breach.

       38.     Because of Defendant’s Data Breach, Ms. Brown has suffered—and will continue

to suffer from—anxiety, sleep disruption, stress, fear, and frustration. Such injuries go far beyond

allegations of mere worry or inconvenience. Rather, her injuries are precisely the type of injuries

that the law contemplates and addresses.

       39.     Ms. Brown has suffered actual injury from the exposure (and likely theft) of her

Protected Information—which violates her rights to privacy.

       40.     Ms. Brown has suffered actual injury in the form of damage to and diminution in

the value of her Protected Information. After all, Protected Information is a form of intangible

property—property that Defendant was required to adequately protect.

       41.     Ms. Brown has suffered imminent and impending injury arising from the

substantially increased risk of fraud, misuse, and identity theft—all because Defendant’s Data

Breach placed her Protected Information right in the hands of criminals.




                                                 8
          Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 9 of 33




        42.     Because of the Data Breach, Ms. Brown anticipates spending considerable amounts

of time and money to try and mitigate her injuries.

        43.     Today, Ms. Brown has a continuing interest in ensuring that her Protected

Information—which, upon information and belief, remains backed up in Defendant’s possession—

is protected and safeguarded from additional breaches.

Plaintiff Ross Finesmith’s Experiences and Injuries

        44.     Plaintiff Ross Finesmith is unsure how Defendant obtained his Protected

Information, but believes he previously received pharmaceutical services from Defendant, making

him a former patient of Defendant.

        45.     As a condition of receiving prescriptions or Defendant’s services, Defendant

required Mr. Finesmith to provide it with his Protected Information.

        46.     Mr. Finesmith provided Defendant with his Protected Information in order to utilize

the services of Defendant but would not have done so had he known that Defendant would not

protect it as promised.

        47.     In May 2023, Mr. Finesmith became aware that his Protected Information was

impacted by the Data Breach when he received Defendant’s Notice of Data Breach.

        48.     Mr. Finesmith does not recall ever learning that his information was compromised

in a data breach incident—other than the breach at issue here.

        49.     Mr. Finesmith will continue to spend significant time and effort monitoring his

accounts to protect himself from identity theft. After all, Defendant directed him to take those steps

in its breach notice.

        50.     Mr. Finesmith fears for his personal financial security and worries about what

information was exposed in the Data Breach.


                                                  9
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 10 of 33




       51.     Because of Defendant’s Data Breach, Mr. Finesmith has suffered—and will

continue to suffer from—anxiety, sleep disruption, stress, fear, and frustration. Such injuries go

far beyond allegations of mere worry or inconvenience. Rather, his injuries are precisely the type

of injuries that the law contemplates and addresses.

       52.     Mr. Finesmith has suffered actual injury from the exposure (and likely theft) of his

Protected Information—which violates his rights to privacy.

       53.     Mr. Finesmith has suffered actual injury in the form of damage to and diminution

in the value of his Protected Information. After all, Protected Information is a form of intangible

property—property that Defendant was required to adequately protect.

       54.     Mr. Finesmith has suffered imminent and impending injury arising from the

substantially increased risk of fraud, misuse, and identity theft—all because Defendant’s Data

Breach placed his Protected Information right in the hands of criminals.

       55.     Because of the Data Breach, Mr. Finesmith anticipates spending considerable

amounts of time and money to try and mitigate his injuries.

       56.     Today, Mr. Finesmith has a continuing interest in ensuring that his Protected

Information—which, upon information and belief, remains backed up in Defendant’s possession—

is protected and safeguarded from additional breaches.

Plaintiffs and the Proposed Class Face Significant Risk of Continued Identity Theft

       57.     Because of Defendant’s failure to prevent the Data Breach, Plaintiffs and Class

Members suffered—and will continue to suffer—damages. These damages include, inter alia,

monetary losses, lost time, anxiety, and emotional distress. Also, they suffered or are at an

increased risk of suffering:

               a.      loss of the opportunity to control how their Protected Information is used;




                                                10
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 11 of 33




               b.     diminution in value of their Protected Information;

               c.     compromise and continuing publication of their Protected Information;

               d.     out-of-pocket costs from trying to prevent, detect, and recovery from

                      identity theft and fraud;

               e.     lost opportunity costs and wages from spending time trying to mitigate the

                      fallout of the Data Breach by, inter alia, preventing, detecting, contesting,

                      and recovering from identify theft and fraud;

               f.     delay in receipt of tax refund monies;

               g.     unauthorized use of their stolen Protected Information; and

               h.     continued risk to their Protected Information —which remains in

                      Defendant’s possession—and is thus as risk for futures breaches so long as

                      Defendant fails to take appropriate measures to protect the Protected

                      Information.

       58.     Stolen PII is one of the most valuable commodities on the criminal information

black market. According to Experian, a credit-monitoring service, stolen PII can be worth up to

$1,000.00 depending on the type of information obtained.

       59.     The value of Plaintiffs’ and the Class’s Protected Information on the black market

is considerable. Stolen Protected Information trades on the black market for years. And criminals

frequently post and sell stolen information openly and directly on the “dark web”—further

exposing the information.

       60.     It can take victims years to discover such identity theft and fraud. This gives

criminals plenty of time to sell Protected Information far and wide.




                                                  11
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 12 of 33




        61.     One way that criminals profit from stolen Protected Information is by creating

comprehensive dossiers on individuals called “Fullz” packages. These dossiers are both

shockingly accurate and comprehensive. Criminals create them by cross-referencing and

combining two sources of data—first the stolen Protected Information, and second, unregulated

data found elsewhere on the internet (like phone numbers, emails, addresses, etc.).

        62.     The development of “Fullz” packages means that the Protected Information

exposed in the Data Breach can easily be linked to data of Plaintiffs and the Class that is available

on the internet.

        63.     In other words, even if certain information such as emails, phone numbers, or credit

card numbers may not be included in the Protected Information stolen by the cyber-criminals in

the Data Breach, criminals can easily create a Fullz package and sell it at a higher price to

unscrupulous operators and criminals (such as illegal and scam telemarketers) over and over. That

is exactly what is happening to Plaintiffs and Class Members, and it is reasonable for any trier of

fact, including this Court or a jury, to find that Plaintiffs’ and other Class Members’ stolen

Protected Information is being misused, and that such misuse is fairly traceable to the Data Breach.

        64.     Defendant disclosed the Protected Information of Plaintiffs and Class Members for

criminals to use in the conduct of criminal activity. Specifically, Defendant opened up, disclosed,

and exposed the Protected Information of Plaintiffs and Class Members to people engaged in

disruptive and unlawful business practices and tactics, including online account hacking,

unauthorized use of financial accounts, and fraudulent attempts to open unauthorized financial

accounts (i.e., identity fraud), all using the stolen PII.

        65.     Defendant’s failure to promptly and properly notify Plaintiffs and Class Members

of the Data Breach exacerbated Plaintiffs’ and Class Members’ injury by depriving them of the




                                                   12
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 13 of 33




earliest ability to take appropriate measures to protect their Protected Information and take other

necessary steps to mitigate the harm caused by the Data Breach.

Defendant Knew—Or Should Have Known—of the Risk of a Data Breach

        66.      Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in recent years.

        67.      In 2021, a record 1,862 data breaches occurred, exposing approximately

293,927,708 sensitive records—a 68% increase from 2020.12 Of the 1,862 recorded data breaches,

330 of them, or 17.7% were in the medical or healthcare industry.13 Those 330 reported breaches

exposed nearly 30 million sensitive records (28,045,658), compared to only 306 breaches that

exposed nearly 10 million sensitive records (9,700,238) in 2020.14

        68.      Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service issue warnings to potential targets, so they are aware

of, and prepared for, a potential attack. As one report explained, “[e]ntities like smaller

municipalities and hospitals are attractive to ransomware criminals . . . because they often have

lesser IT defenses and a high incentive to regain access to their data quickly.”15

        69.      In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

organizations experienced cyberattacks in the past year.16

        70.      Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.


12
   See 2021 Data Breach Annual Report, IDENTITY THEFT RESOURCE CENTER (Jan. 2022)
https://notified.idtheftcenter.org/s/.
13
   Id.
14
   Id.
15
   Ben Kochman, FBI, Secret Service Warn of Targeted Ransomware, LAW360 (Nov. 18,
2019), https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-ransomware.
16
   See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, SECURITY MAGAZINE (Nov. 23, 2020),
https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-phishing-attack (last visited July 31,
2022).


                                                       13
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 14 of 33




Defendant Failed to Follow FTC Guidelines

        71.      According to the Federal Trade Commission (“FTC”), the need for data security

should be factored into all business decision-making. Thus, the FTC issued numerous guidelines

identifying best data security practices that businesses—like Defendant—should use to protect

against unlawful data exposure.

        72.      In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business. There, the FTC set guidelines for what data security principles and practices

businesses must use.17 The FTC declared that, inter alia, businesses must:

                 a.      protect the personal customer information that they keep;

                 b.      properly dispose of personal information that is no longer needed;

                 c.      encrypt information stored on computer networks;

                 d.      understand their network’s vulnerabilities; and

                 e.      implement policies to correct security problems.

        73.      The guidelines also recommend that businesses watch for the transmission of large

amounts of data out of the system—and then have a response plan ready for such a breach.

        74.      Furthermore, the FTC explains that companies must:

                 a.      not maintain information longer than is needed to authorize a transaction;

                 b.      limit access to sensitive data;

                 c.      require complex passwords to be used on networks;

                 d.      use industry-tested methods for security;

                 e.      monitor for suspicious activity on the network; and

                 f.      verify that third-party service providers use reasonable security measures.


17
  Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION (Oct. 2016)
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf.


                                                      14
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 15 of 33




       75.     The FTC brings enforcement actions against businesses for failing to protect

customer data adequately and reasonably. Thus, the FTC treats the failure—to use reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data—as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       76.     In short, Defendant’s failure to use reasonable and appropriate measures to protect

against unauthorized access to current and former patients’ data constitutes an unfair act or practice

prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

Defendant Failed to Follow Industry Standards

       77.     Several best practices have been identified that—at a minimum—should be

implemented by businesses like Defendant. These industry standards include educating all

employees; strong passwords; multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption (making data unreadable without a key); multi-factor authentication;

backup data; and limiting which employees can access sensitive data.

       78.     Other industry standard best practices include installing appropriate malware

detection software; monitoring and limiting the network ports; protecting web browsers and email

management systems; setting up network systems such as firewalls, switches, and routers;

monitoring and protection of physical security systems; protection against any possible

communication system; and training staff regarding critical points.

       79.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,




                                                 15
          Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 16 of 33




PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

         80.      These frameworks are applicable and accepted industry standards. And by failing

to comply with these accepted standards, Defendant opened the door to the criminals—thereby

causing the Data Breach.

Defendant Violated HIPAA

         81.      HIPAA circumscribes security provisions and data privacy responsibilities

designed to keep patients’ medical information safe. HIPAA compliance provisions, commonly

known as the Administrative Simplification Rules, establish national standards for electronic

transactions and code sets to maintain the privacy and security of protected health information.18

         82.      HIPAA provides specific privacy rules that require comprehensive administrative,

physical, and technical safeguards to ensure the confidentiality, integrity, and security of PII and

PHI is properly maintained.19

         83.      The Data Breach itself resulted from a combination of inadequacies showing

Defendant failed to comply with safeguards mandated by HIPAA. Defendant’s security failures

include, but are not limited to:

                  a.       failing to ensure the confidentiality and integrity of electronic PHI that it

                           creates, receives, maintains and transmits in violation of 45 C.F.R. §

                           164.306(a)(1);


18
   HIPAA lists 18 types of information that qualify as PHI according to guidance from the Department of Health and
Human Services Office for Civil Rights, and includes, inter alia: names, addresses, any dates including dates of birth,
Social Security numbers, and medical record numbers.
19
   See 45 C.F.R. § 164.306 (security standards and general rules); 45 C.F.R. § 164.308 (administrative safeguards); 45
C.F.R. § 164.310 (physical safeguards); 45 C.F.R. § 164.312 (technical safeguards).



                                                         16
Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 17 of 33




    b.    failing to protect against any reasonably-anticipated threats or hazards to

          the security or integrity of electronic PHI in violation of 45 C.F.R. §

          164.306(a)(2);

    c.    failing to protect against any reasonably anticipated uses or disclosures of

          electronic PHI that are not permitted under the privacy rules regarding

          individually identifiable health information in violation of 45 C.F.R. §

          164.306(a)(3);

    d.    failing to ensure compliance with HIPAA security standards by Defendant’s

          workforce in violation of 45 C.F.R. § 164.306(a)(4);

    e.    failing to implement technical policies and procedures for electronic

          information systems that maintain electronic PHI to allow access only to

          those persons or software programs that have been granted access rights in

          violation of 45 C.F.R. § 164.312(a)(1);

    f.    failing to implement policies and procedures to prevent, detect, contain and

          correct security violations in violation of 45 C.F.R. § 164.308(a)(1);

    g.    failing to identify and respond to suspected or known security incidents and

          failing to mitigate, to the extent practicable, harmful effects of security

          incidents that are known to the covered entity in violation of 45 C.F.R. §

          164.308(a)(6)(ii);

    h.    failing to effectively train all staff members on the policies and procedures

          with respect to PHI as necessary and appropriate for staff members to carry

          out their functions and to maintain security of PHI in violation of 45 C.F.R.

          § 164.530(b) and 45 C.F.R. § 164.308(a)(5); and




                                   17
           Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 18 of 33




                i.     failing to design, implement, and enforce policies and procedures

                       establishing physical and administrative safeguards to reasonably safeguard

                       PHI, in compliance with 45 C.F.R. § 164.530(c).

          84.   Simply put, the Data Breach resulted from a combination of insufficiencies that

demonstrate Defendant failed to comply with safeguards mandated by HIPAA regulations.

                               CLASS ACTION ALLEGATIONS

          85.   Plaintiffs bring this class action under Fed. R. Civ. P. 23(a), 23(b)(2), and 23(b)(3),

individually and on behalf of all members of the following class:

                All individuals residing in the United States whose Protected
                Information was compromised in the Data Breach discovered
                by AllCare Plus Pharmacy LLC around June 21, 2022,
                including all those to received notice of the Data Breach.

          86.   Excluded from the Class are Defendant, its agents, affiliates, parents, subsidiaries,

any entity in which Defendant has a controlling interest, any Defendant officer or director, any

successor or assign, and any Judge who adjudicates this case, including their staff and immediate

family.

          87.   Plaintiffs reserve the right to amend the class definition.

          88.   Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

Plaintiffs can prove the elements of their claims on class-wide bases using the same evidence as

would be used to prove those elements in individual actions asserting the same claims.

          89.   Ascertainability. All members of the proposed Class are readily ascertainable from

information in Defendant’s custody and control. After all, Defendant already identified some

individuals and sent them data breach notices.

          90.   Numerosity. The Class Members are so numerous that joinder of all Class Members

is impracticable.



                                                  18
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 19 of 33




       91.     Commonality and Predominance. Plaintiffs’ and the Class’s claims raise

predominantly common fact and legal questions—which predominate over any questions affecting

individual Class members—for which a class wide proceeding can answer for all Class members.

In fact, a class wide proceeding is necessary to answer the following questions:

               a.     if Defendant had a duty to use reasonable care in safeguarding Plaintiffs’

                      and the Class’s Protected Information;

               b.     if Defendant failed to implement and maintain reasonable security

                      procedures and practices appropriate to the nature and scope of the

                      information compromised in the Data Breach;

               c.     if Defendant were negligent in maintaining, protecting, and securing

                      Protected Information;

               d.     if Defendant breached contract promises to safeguard Plaintiffs’ and the

                      Class’s Protected Information;

               e.     if Defendant took reasonable measures to determine the extent of the Data

                      Breach after discovering it;

               f.     if Defendant’s Breach Notice was reasonable;

               g.     if the Data Breach caused Plaintiffs and the Class injuries;

               h.     what the proper damages measure is; and

               i.     if Plaintiffs and the Class are entitled to damages, treble damages, and or

                      injunctive relief.

       92.     Typicality. Plaintiffs’ claims are typical of Class member’s claims as each arises

from the same Data Breach, the same alleged violations by Defendant, and the same unreasonable

manner of notifying individuals about the Data Breach.




                                               19
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 20 of 33




       93.     Adequacy. Plaintiffs will fairly and adequately protect the proposed Class’s

common interests. Their interests do not conflict with Class members’ interests. And Plaintiffs

have retained counsel—including lead counsel—that is experienced in complex class action

litigation and data privacy to prosecute this action on the Class’s behalf.

       94.     Superiority. A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. The damages or other financial detriment suffered by

individual Class members are relatively small compared to the burden and expense that individual

litigation against Defendant would require. Thus, it would be practically impossible for Class

members, on an individual basis, to obtain effective redress for their injuries. Not only would

individualized litigation increase the delay and expense to all parties and the courts, but

individualized litigation would also create the danger of inconsistent or contradictory judgments

arising from the same set of facts. By contrast, the class action device provides the benefits of

adjudication of these issues in a single proceeding, ensures economies of scale, provides

comprehensive supervision by a single court, and presents no unusual management difficulties.

                                 FIRST CAUSE OF ACTION
                                          Negligence
                             (On Behalf of Plaintiffs and the Class)

       95.     Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       96.     Plaintiffs and the Class entrusted their Protected Information to Defendant on the

premise and with the understanding that Defendant would safeguard their Protected Information,

use their Protected Information for business purposes only, and/or not disclose their Protected

Information to unauthorized third parties.

       97.     Defendant owed a duty of care to Plaintiffs and Class Members because it was

foreseeable that Defendant’s failure—to use adequate data security in accordance with industry




                                                 20
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 21 of 33




standards for data security—would compromise their Protected Information in a data breach. And

here, that foreseeable danger came to pass.

       98.     Defendant has full knowledge of the sensitivity of the Protected Information and

the types of harm that Plaintiffs and the Class could and would suffer if their Protected Information

was wrongfully disclosed.

       99.     Defendant owed these duties to Plaintiffs and Class Members because they are

members of a well-defined, foreseeable, and probable class of individuals whom Defendant knew

or should have known would suffer injury-in-fact from Defendant’s inadequate security practices.

After all, Defendant actively sought and obtained Plaintiffs’ and Class Members’ Protected

Information.

       100.    Defendant owed—to Plaintiffs and Class Members—at least the following duties

to:

               a.      exercise reasonable care in handling and using the Protected Information in

                       its care and custody;

               b.      implement industry-standard security procedures sufficient to reasonably

                       protect the information from a data breach, theft, and unauthorized;

               c.      promptly detect attempts at unauthorized access;

               d.      notify Plaintiffs and Class Members within a reasonable timeframe of any

                       breach to the security of their Protected Information.

       101.    Also, Defendant owed a duty to timely and accurately disclose to Plaintiffs and

Class Members the scope, nature, and occurrence of the Data Breach. After all, this duty is required

and necessary for Plaintiffs and Class Members to take appropriate measures to protect their




                                                 21
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 22 of 33




Protected Information, to be vigilant in the face of an increased risk of harm, and to take other

necessary steps to mitigate the harm caused by the Data Breach.

       102.    Defendant also had a duty to exercise appropriate clearinghouse practices to remove

Protected Information it was no longer required to retain under applicable regulations.

       103.    Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the Protected Information of Plaintiffs and the Class

involved an unreasonable risk of harm to Plaintiffs and the Class, even if the harm occurred

through the criminal acts of a third party.

       104.    Defendant’s duty to use reasonable security measures arose because of the special

relationship that existed between Defendant and Plaintiffs and the Class. That special relationship

arose because Plaintiffs and the Class entrusted Defendant with their confidential Protected

Information, a necessary part of employment and/or obtaining medical services from Defendant.

       105.    The risk that unauthorized persons would attempt to gain access to the Protected

Information and misuse it was foreseeable. Given that Defendant holds vast amounts of Protected

Information, it was inevitable that unauthorized individuals would attempt to access Defendant’s

databases containing the Protected Information—whether by malware or otherwise.

       106.    Protected Information is highly valuable, and Defendant knew, or should have

known, the risk in obtaining, using, handling, emailing, and storing the Protected Information of

Plaintiffs’ and Class Members’ and the importance of exercising reasonable care in handling it.

       107.    Defendant improperly and inadequately safeguarded the Protected Information of

Plaintiffs and the Class in deviation of standard industry rules, regulations, and practices at the

time of the Data Breach.

       108.    Defendant breached these duties as evidenced by the Data Breach.




                                                22
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 23 of 33




       109.    Defendant acted with wanton and reckless disregard for the security and

confidentiality of Plaintiffs’ and Class Members’ Protected Information by:

               a.     disclosing and providing access to this information to third parties and

               b.     failing to properly supervise both the way the Protected Information was

                      stored, used, and exchanged, and those in its employ who were responsible

                      for making that happen.

       110.    Defendant breached its duties by failing to exercise reasonable care in supervising

its agents, contractors, vendors, and suppliers, and in handling and securing the Protected

Information of Plaintiffs and Class Members which actually and proximately caused the Data

Breach and Plaintiffs’ and Class Members’ injury.

       111.    Defendant further breached its duties by failing to provide reasonably timely notice

of the Data Breach to Plaintiffs and Class Members, which actually and proximately caused and

exacerbated the harm from the Data Breach and Plaintiffs’ and Class Members’ injuries-in-fact.

       112.    Defendant has admitted that the Protected Information of Plaintiffs and the Class

was wrongfully lost and disclosed to unauthorized third persons because of the Data Breach.

       113.    As a direct and traceable result of Defendant’s negligence and/or negligent

supervision, Plaintiffs and Class Members have suffered or will suffer damages, including

monetary damages, increased risk of future harm, embarrassment, humiliation, frustration, and

emotional distress.

       114.    Defendant’s breach of its common-law duties to exercise reasonable care and its

failures and negligence actually and proximately caused Plaintiffs and Class Members actual,

tangible, injury-in-fact and damages, including, without limitation, the theft of their Protected

Information by criminals, improper disclosure of their Protected Information, lost benefit of their




                                                23
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 24 of 33




bargain, lost value of their Protected Information, and lost time and money incurred to mitigate

and remediate the effects of the Data Breach that resulted from and were caused by Defendant’s

negligence, which injury-in-fact and damages are ongoing, imminent, immediate, and which they

continue to face.

                                SECOND CAUSE OF ACTION
                                       Negligence per se
                              (On Behalf of Plaintiffs and the Class)

       115.    Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       116.    Under the FTC Act, 15 U.S.C. § 45, Defendant had a duty to use fair and adequate

computer systems and data security practices to safeguard Plaintiffs’ and Class Members’ PII.

       117.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendant, of failing to use reasonable measures to protect the PII entrusted to it. The FTC

publications and orders promulgated pursuant to the FTC Act also form part of the basis of

Defendant’s duty to protect Plaintiffs’ and the Class Members’ sensitive PII.

       118.    Defendant breached its respective duties to Plaintiffs and Class Members under the

FTC Act by failing to provide fair, reasonable, or adequate computer systems and data security

practices to safeguard PII.

       119.    Defendant violated its duty under Section 5 of the FTC Act by failing to use

reasonable measures to protect PII and not complying with applicable industry standards as

described in detail herein. Defendant’s conduct was particularly unreasonable given the nature and

amount of PII Defendant had collected and stored and the foreseeable consequences of a data

breach, including, specifically, the immense damages that would result to individuals in the event

of a breach, which ultimately came to pass.




                                                 24
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 25 of 33




       120.    The harm that has occurred is the type of harm the FTC Act is intended to guard

against. Indeed, the FTC has pursued numerous enforcement actions against businesses that,

because of their failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm as that suffered by Plaintiffs and members of the Class.

       121.    But for Defendant’s wrongful and negligent breach of its duties owed, Plaintiffs

and Class Members would not have been injured.

       122.    The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

that Defendant was failing to meet its duties and that its breach would cause Plaintiffs and members

of the Class to suffer the foreseeable harms associated with the exposure of their Protected

Information.

       123.    Similarly, under HIPAA, Defendant had a duty to follow HIPAA standards for

privacy and security practices—as to protect Plaintiffs’ and Class Members’ PHI.

       124.    Defendant violated its duty under HIPAA by failing to use reasonable measures to

protect its PHI and by not complying with applicable regulations detailed supra. Here too,

Defendant’s conduct was particularly unreasonable given the nature and amount of PHI that

Defendant collected and stored and the foreseeable consequences of a data breach, including,

specifically, the immense damages that would result to individuals in the event of a breach, which

ultimately came to pass.

       125.    Defendant’s various violations and its failure to comply with applicable laws and

regulations constitutes negligence per se.

       126.    As a direct and proximate result of Defendant’s negligence per se, Plaintiffs and

Class Members have suffered and will continue to suffer numerous injuries (as detailed supra).




                                                25
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 26 of 33




                               THIRD CAUSE OF ACTION
                                Breach of Implied Contract
                            (On Behalf of Plaintiffs and the Class)

       127.   Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       128.   Plaintiffs and Class Members were required to provide their Protected Information

to Defendant as a condition of employment and/or receiving medical services provided by

Defendant. Plaintiffs and Class Members provided their Protected Information to Defendant or its

third-party agents in exchange for employment and/or Defendant’s medical services and

reasonably believed that the funds they paid, or services they provided, to Defendant included

amounts towards protecting the security of their Protected Information.

       129.   Plaintiffs and the Class Members accepted Defendant’s offers by disclosing their

Protected Information to Defendant or its third-party agents in exchange for employment or

medical services and by paying for those medical services.

       130.   In turn, and through internal policies, Defendant agreed to protect and not disclose

the Protected Information to unauthorized persons.

       131.   In its Privacy Policy, Defendant represented that they had a legal duty to protect

Plaintiffs’ and Class Member’s Protected Information.

       132.   Implicit in the parties’ agreement was that Defendant would provide Plaintiffs and

Class Members with prompt and adequate notice of all unauthorized access and/or theft of their

Protected Information




                                                26
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 27 of 33




       133.    After all, Plaintiffs and Class Members would not have entrusted their Protected

Information to Defendant or its third-party agents in the absence of such an agreement with

Defendant.

       134.    Plaintiffs and the Class fully performed their obligations under the implied

contracts with Defendant.

       135.    The covenant of good faith and fair dealing is an element of every contract. Thus,

parties must act with honesty in fact in the conduct or transactions concerned. Good faith and fair

dealing, in connection with executing contracts and discharging performance and other duties

according to their terms, means preserving the spirit—and not merely the letter—of the bargain.

In short, the parties to a contract are mutually obligated to comply with the substance of their

contract in addition to its form.

       136.    Subterfuge and evasion violate the duty of good faith in performance even when an

actor believes their conduct to be justified. Bad faith may be overt or consist of inaction. And fair

dealing may require more than honesty.

       137.    Defendant materially breached the contracts it entered with Plaintiffs and Class

Members by:

               a.      failing to safeguard their information;

               b.      failing to notify them promptly of the intrusion into its computer systems

                       that compromised such information.

               c.      failing to comply with industry standards;

               d.      failing to comply with the legal obligations necessarily incorporated into

                       the agreements; and




                                                 27
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 28 of 33




              e.      failing to ensure the confidentiality and integrity of the electronic Protected

                      Information that Defendant created, received, maintained, and transmitted.

       138.   In these and other ways, Defendant violated its duty of good faith and fair dealing.

       139.   Defendant’s material breaches were the direct and proximate cause of Plaintiffs’

and Class Members’ injuries (as detailed supra).

       140.   Plaintiffs and Class Members performed as required under the relevant agreements,

or such performance was waived by Defendant’s conduct.

                              FOURTH CAUSE OF ACTION
                                 Breach of Fiduciary Duty
                            (On Behalf of Plaintiffs and the Class)

       141.   Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       142.   Given the relationship between Defendant and Plaintiffs and Class Members, where

Defendant became guardian of Plaintiffs and Class Members' Protected Information, Defendant

became a fiduciary by its undertaking and guardianship of the Protected Information, to act

primarily for Plaintiffs and Class Members, (1) for the safeguarding of Plaintiffs’ and Class

Members' Protected Information; (2) to timely notify Plaintiffs and Class Members of a Data

Breach and disclosure; and (3) to maintain complete and accurate records of what information (and

where) Defendant did and does store.

       143.   Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class Members

upon matters within the scope of Defendant’s relationship with them—especially to secure their

Protected Information.

       144.   Because of the highly sensitive nature of the Protected Information, Plaintiffs and

Class Members would not have entrusted Defendant, or anyone in Defendant’s position, to retain




                                                28
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 29 of 33




their Protected Information had they known the reality of Defendant’s inadequate data security

practices.

       145.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to sufficiently encrypt or otherwise protect Plaintiffs’ and Class Members' Protected Information.

       146.    Defendant also breached its fiduciary duties to Plaintiffs and Class Members by

failing to diligently discover, investigate, and give notice of the Data Breach in a reasonable and

practicable period.

       147.    As a direct and proximate result of Defendant's breach of its fiduciary duties,

Plaintiffs and Class Members have suffered and will continue to suffer numerous injuries (as

detailed supra).

                                 FIFTH CAUSE OF ACTION
                                     Unjust Enrichment
                             (On Behalf of Plaintiffs and the Class)

       148.    Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       149.    This claim is pleaded in the alternative to the breach of implied contract claim.

       150.    Plaintiffs and Class Members conferred a benefit upon Defendant. After all,

Defendant benefitted from using their Protected Information in the form of employment, or to

obtain payment and facilitate its provision of services.

       151.    Defendant appreciated or had knowledge of the benefits it received from Plaintiffs

and Class Members. And Defendant benefited from receiving Plaintiffs’ and Class Members’

Protected Information, as this was used for employment and to obtain payment and facilitate its

provision of services.

       152.    Defendant enriched itself by saving the costs they reasonably should have expended

on data security measures to secure Plaintiffs’ and Class Members’ Protected Information.




                                                 29
         Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 30 of 33




       153.    Instead of providing a reasonable level of security, or retention policies, which

would have prevented the Data Breach, Defendant instead calculated to avoid its data security

obligations at the expense of Plaintiffs and Class Members by utilizing cheaper, ineffective

security measures. Plaintiffs and Class Members, on the other hand, suffered as a direct and

proximate result of Defendant’s failure to provide the requisite security.

       154.    Under principles of equity and good conscience, Defendant should not be permitted

to retain the full value of Plaintiffs’ and Class Members’ payment because Defendant failed to

adequately protect their Protected Information.

       155.    Plaintiffs and Class Members have no adequate remedy at law.

       156.    Defendant should be compelled to disgorge into a common fund—for the benefit

of Plaintiff and Class Members—all unlawful or inequitable proceeds that it received because of

its misconduct.

                                 SIXTH CAUSE OF ACTION
                                    Declaratory Judgment
                              (On Behalf of Plaintiffs and the Class)

       157.    Plaintiffs incorporate by reference all other paragraphs as if fully set forth herein.

       158.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and to grant

further necessary relief. The Court has broad authority to restrain acts, such as those alleged herein,

which are tortious and unlawful.

       159.    In the fallout of the Data Breach, an actual controversy has arisen about

Defendant’s various duties to use reasonable data security. On information and belief, Plaintiffs

allege that Defendant’s actions were—and still are—inadequate and unreasonable. And Plaintiffs

and Class Members continue to suffer injury from the ongoing threat of fraud and identity theft.




                                                  30
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 31 of 33




       160.    Given its authority under the Declaratory Judgment Act, this Court should enter a

judgment declaring, among other things, the following:

               a.      Defendant owed—and continues to owe—a legal duty to use reasonable

                       data security to secure the data entrusted to it;

               b.      Defendant has a duty to notify impacted individuals of the Data Breach

                       under the common law and Section 5 of the FTC Act;

               c.      Defendant breached, and continues to breach, its duties by failing to use

                       reasonable measures to the data entrusted to it; and

               d.      Defendant breaches of its duties caused—and continues to cause—injuries

                       to Plaintiffs and Class Members.

       161.    The Court should also issue corresponding injunctive relief requiring Defendant to

use adequate security consistent with industry standards to protect the data entrusted to it.

       162.    If an injunction is not issued, Plaintiffs and the Class will suffer irreparable injury

and lack an adequate legal remedy if Defendant experiences a second data breach.

       163.    And if a second breach occurs, Plaintiffs and the Class will lack an adequate remedy

at law because many of the resulting injuries are not readily quantified in full and they will be

forced to bring multiple lawsuits to rectify the same conduct. Simply put, monetary damages—

while warranted for out-of-pocket damages and other legally quantifiable and provable damages—

cannot cover the full extent of Plaintiffs’ and Class Members’ injuries.

       164.    If an injunction is not issued, the resulting hardship to Plaintiffs and Class Members

far exceeds the minimal hardship that Defendant could experience if an injunction is issued.

       165.    An injunction would benefit the public by preventing another data breach—thus

preventing further injuries to Plaintiffs, Class Members, and the public at large.




                                                 31
        Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 32 of 33




                                      PRAYER FOR RELIEF

       Plaintiffs and Class Members respectfully request judgment against Defendant and that the

Court enter an order:

           A. Certifying this case as a class action on behalf of Plaintiffs and the proposed Class,

               appointing Plaintiffs as class representatives, and appointing their counsel to

               represent the Class;

           B. Awarding declaratory and other equitable relief as necessary to protect the interests

               of Plaintiffs and the Class;

           C. Awarding injunctive relief as necessary to protect the interests of Plaintiffs and the

               Class;

           D. Awarding Plaintiffs and the Class damages including applicable compensatory,

               exemplary, punitive damages, and statutory damages, as allowed by law;

           E. Awarding restitution and damages to Plaintiffs and the Class in an amount to be

               determined at trial;

           F. Awarding attorneys’ fees and costs, as allowed by law;

           G. Awarding prejudgment and post-judgment interest, as provided by law;

           H. Granting Plaintiffs and the Class leave to amend this complaint to conform to the

               evidence produced at trial; and

           I. Granting other relief that this Court finds appropriate.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a jury trial for all claims so triable.




                                                 32
Case 4:23-cv-40077-MRG Document 1 Filed 07/01/23 Page 33 of 33




    Dated: July 1, 2023

                            Respectfully submitted,

                            By: /s/ Anthony I. Paronich
                            Anthony I. Paronich
                            Paronich Law, P.C.
                            350 Lincoln Street, Suite 2400
                            Hingham, MA 02043
                            (508) 221-1510
                            anthony@paronichlaw.com


                            /s/ Raina C. Borrelli
                            TURKE & STRAUSS LLP
                            Raina Borrelli (pro hac vice to be filed)
                            Samuel J. Strauss (pro hac vice to be filed)
                            613 Williamson Street, Suite 201
                            Madison, Wisconsin 53703
                            Telephone: (608) 237-1775
                            Facsimile: (608) 509-4423
                            sam@turkestrauss.com
                            raina@turkestrauss.com


                            Attorneys for Plaintiffs and Proposed Class




                              33
